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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER,                             *
                                             *
               Plaintiff,
                                             *   Civil Action No.
v.                                           *   2:24-cv-0228-WBV-DPC
                                             *   (Consolidated with No. 24-CV-0781)
MARTIAN SALES, INC.; JOPEN,                  *
LLC; JOHNSON FOODS, LLC; LP                      APPLIES TO ALL CASES
                                             *
IND., LLC; CAG HOLDINGS, LLC;                *   Judge Wendy B. Vitter
RMH HOLDINGS, INC.; ABC                      *
INSURANCE COMPANY and John                   *
Does 1-4,                                        Magistrate Donna Phillips Currault
                                             *
               Defendants.                   *

                             RULE 7.1 DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 (amended effective 12/31/22), Defendants

LP IND., LLC; CAG Holdings, LLC; RMH Holdings, Inc.; Martian Sales, Inc.; and JOpen, LLC

(collectively “Defendants”) make the following disclosures:

     1. Is the disclosing party a nongovernmental corporate party (or a nongovernmental
        corporation that seeks to intervene)?

                        [X] Yes [] No

        If “No,” proceed to Question 2. If “Yes,” respond to the following:

        a. Identify any parent corporation and any publicly held corporation owning 10%
        or more of its stock, or
        b. State that there is no such corporation.


        There is no such corporation.


     2. Is the disclosing party either a party or an intervenor in an action in which
        jurisdiction is based on diversity under 28 U.S.C. § 1332(a)?

                        [ x] Yes [ ] No

        If “No,” sign and submit the form. If “Yes,” respond to the following:
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       a. Identify the name—and citizenship—of every individual or entity whose
          citizenship is attributed to the disclosing party (including all members, sub-
          members, general and limited partners, and corporations) at the time the action
          was filed in or removed to federal court (or when any later event occurs that could
          affect the court's jurisdiction under § 1332(a)):1


       1.      Defendant, JOpen, LLC, is a Texas limited liability company. Petition at 1, ¶ 1(b).

JOpen, LLC’s only member is JDA1, LLC, a Wyoming LLC, whose only member is the Lydian

Trust. The Lydian Trust has two trustees, both residents of Dallas, domiciled in Texas, Jon H.

Rastegar and Jes Alexander.      Their citizenship is therefore Texas.      The Lydian Trust is “a

traditional trust,” not a “business entity,” and therefore, “its citizenship is determined by the

trustee’s citizenship.” See Algiers Dev. Dist. v. Vista Louisiana, LLC, No. CV 16-16402, 2017 WL

121127, at *3 (E.D. La. Jan. 12, 2017). JOpen, LLC is therefore a citizen of Texas.

       2.      Defendant, Martian Sales, Inc., is a corporation incorporated in Wyoming with its

principal place of business only in Wyoming. Petition at 1, ¶ 1(a).2 It is therefore a citizen only of

Wyoming. See 28 U.S.C. § 1332(c)(1) (a corporation is a citizen of every state by which it has

been incorporated and where it has its principal place of business).

       3.      Defendant, LP IND., LLC’s sole member is FMK Group, Inc. FMK Group, Inc. is a

corporation and a holding company incorporated in Wyoming with its only principal place of

business in Wyoming. FMK Group, Inc. is therefore a citizen only of Wyoming, and LP IND.,

LLC is as well a citizen only of Wyoming.



1
        Sub-members include the members of members (i.e., first-tier sub-members), and the
members of first-tier sub-members (i.e., second-tier sub-members), the members of second-tier
sub-members (i.e., third-tier sub-members), and so on, until the disclosing party has identified the
citizenship of all persons and entities within the ownership structure. Further, if a corporation is a
member or sub-member of the subject organization, that corporation’s state of incorporation and
principal place of business must be disclosed.
2
        In the Court’s February 2, 2024 Order, Judge Vitter also found that the amended complaint
in that proceeding adequately alleges the citizenship of Defendants Martian Sales, Inc., Johnson
Foods, LLC, LP IND., LLC, CAG Holdings, LLC, and RMH Holdings, LLC. See (R. Doc. 6).
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       4.     Defendant CAG Holdings, LLC’s sole member is also FMK Group, Inc., a

corporation and a holding company incorporated in Wyoming with its principal place of business

only in Wyoming. FMK Group, Inc. is therefore a citizen only of Wyoming, and CAG Holdings,

LLC is as well a citizen only of Wyoming.

       5.     Defendant RMH Holdings, LLC’s sole member is Western Wall Management, Inc.

Western Wall Management, Inc. is a corporation and a holding company incorporated in Wyoming

and with its only principal place of business in Wyoming. Western Wall Management, Inc. is

therefore a citizen only of Wyoming, and RMH Holdings, LLC is as well a citizen only of

Wyoming.

Dated this 20th day of June, 2024.
                                            Respectfully Submitted

                                     By: /s/ Hayley R. Ambler
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                                            HOLDINGS, LLC, AND RMH HOLDINGS, INC.
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                                 CERTIFICATE OF SERVICE

       This is to certify that on June 20, 2024, a copy of the foregoing document was filed with the
Clerk of Court and served on all counsel of record via the Court’s ECF System.


                                             /s/ Hayley R. Ambler
                                             Hayley R. Ambler
